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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
ROBERT BLOBNER,

       Plaintiff,

v.                                                          CASE NO. 8:17-cv-1676-T-26SPF

ARTEMIS MARKETING CORP. etc.,
ORMOND ATLANTIC CORP.,
ROOMSTOGO.COM, INC., and
R.T.G. FURNITURE CORP.,

       Defendants.
                                          /

                                          ORDER

       UPON DUE AND CAREFUL CONSIDERATION of the procedural history of this

case, together with the parties’ written submissions, it is ORDERED AND ADJUDGED that

Defendants’ Motion to Seal Certain Portions of Exhibits to Plaintiff’s Amended Complaint

(Dkt. 63) is denied. The Court is in total agreement with the contention advanced by Plaintiff

that Defendants have not demonstrated a justifiable cause to shield this information from the

public’s common law right of access to judicial records. Nor, as Plaintiff correctly contends,

have Defendants established that the information at issue constitutes trade secrets. The hearing

on Defendants’ motion scheduled for tomorrow, Friday, August 31, 2018, is cancelled.

       DONE AND ORDERED at Tampa, Florida, on August 30, 2018.



                                       s/Richard A. Lazzara
                                     RICHARD A. LAZZARA
                                     UNITED STATES DISTRICT JUDGE
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Counsel of Record
